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      Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 1 of 23 PageID: 82




         Form No. 15:100 Motion for Leave to File Supplemental Pleading




        \K,Nel.1   0 ~f tVJg.rJ       [name of attorney]
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         Attorneys forpro-sa.~ li rryArJt [name of party]



                                                     UNITED STATES DISTRICT COURT
                                          - - - - - - - - D i s t r i c t of _ _ _ _ _ _ __




                               \
                    ~Q..' f~ee..\J)a rJ             [Name of)
                                                 plaintiff] , )
                                                                        No.     \B-]2102 ( B'°"fl))
                                                                        MOTION FOR LEAVE TO FILE
                                                    Plaintiff)          SUPPLEMENTAL [COMPLAINT OR ANSWER]
      ~$\\t')°i, ~q b-12e \\l Oc\ \"1)
                                                           VS•)         (Fed. R. Civ. P. 15(d))
                                                     [Name of)          Hearing Date:
     0\S() ~)t"QPJ-,tCt\ D@?t~)                  defendant] , )         Hearing Time:
                                                    Defendant)
                     f\ tn.t Nd.ft\ l>-   ""*·                          Courtroom:


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       ('.!l~~·r'\!:ffi'\le,, · ReliefSought
               ~ jL\:\12,ci           [Name of moving party], £\C\\NT\tf · . [~or defendant],
        moves the court for leave to file a supplemental aNd s\'b.t.rld           t§ompla1fj)or answer
        or counterclaim or other pleading], a copy of which is attached to this motion as Exhibit Al_.
                                                           Grounds for Relief
               ~ ((\\ tl.e. e.Y\1\9-f"             or Defendant] makes this motion at this time because the events
        set forth in the supplemental .             ·.     _ _ ~mel~or answer or counterclaim or other
        pleading] have occurred since the ti e that the original pleadings in this matter were filed, they are
        sufficiently related to the issues and transactions that are already before the court that their joinder would
        not unduly delay the proceedings and would not prejudice any party, the court could not properly
        determine the matters currently before it without consideration of these new facts, and it is in the interests
        of justice that all of the issues between the parties be litigated in a single action.
                                                           Supporting Papers
               This motion is based on the pleadings and papers on file in this action, this motion, the attached
        Notice of Motion and Exhi.bit AL_, the acco~ing memora_ ndum of points and authorities, [add, if
        appropriate: the affidavit of .ptA-ed\"'"ti f\M~,] and whatever evidence and argument is presented
        at the hearing of this motion.
        Dated: /-118" 2rJte
Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 2 of 23 PageID: 83



 - - - - - - - - - [ f i r m name]
 By:                                                                                                  [signature]
 - - - - - - - - - [ t y p e d name]
 ---------[address]
 - - - - - - - - - [ p h o n e number]
 ------....--..,.,.._...,.--.,..,...__ [e-mail address]
 Attorneys for_-- - - - - - - - - - - - -
 [Attach copy ofproposed pleading, notice of motion and proof of service, memorandum ofpoints
              and authorities, and any other matter on which motion will be based].
 Form No. 15:101 Order Granting Leave to File Supplemental Pleading




                                               UNITED STATES DISTRICT COURT
                                    - - - - - - - - D i s t r i c t of_,...__ _ _ _ __




               hi,k\\ ·E·e~ttJ                    [Name of)
                                               plaintiff] , )
                                                 Plaintiff) .     No.   \8·-1~c2&czrn)
                                                                  ORDERGRANTING LEAVE TO FILE
            ~t· 1 t">eJifAl2              Df!)     [Namev~f ~     SUPPLEMENTAL [COMPLAINT OR ANSWER]
                                                                  (Fed. R. Civ. P. lS(d))
CA:'&t>   \\1'.S\\~·
                1>r-.A
                       L-   'b        L.'-'J
                                 ~rvCJV't
                                               defendant] ,
                                                 Defendant
 Qt.i:in' fh\f)~C:\O),..J


         On \- \f,- ';i.,o 18            [date], tln,d~lltf@-f\.;;J        ~ lai ti or defendant] filed a motion
 for an order for leave to file a supplemental J\~;{etJd                    com      -t or answer or counterclaim
 or other pleading]. The motion was duly noticed and came on regular y              earing on
 --------[date].                                                [Name of plaintiffs attorney], of
 - - - - - - - - [name of firm], appeared and argued for the plaintiff. - - - - - - - -
 [Name of defendants attorney], of                                [name of firm], appeared and argued for the
 defendant.
         The court read the papers submitted in support of and in opposition to the motion, and considered
 the argument of counsel, and it appears that justice would be served if the motion were granted.
 Therefore,
         IT IS ORDERED that:
         1. The motion is GRANTED;
         2.                           [Plaintiff or Defendant] is granted leave to f i l e - - - - - - - -
 [his or her or its] supplemental                            [complaint or answer or counterclaim or other
 pleading] as attached to the motion.
         3.                           [Plaintiff or Defendant] must file and serve this pleading no later than
 _ _ _ _ _ _ _ [date].
         4.                           [Defendant or Plaintiff] may respond to the supplemental pleading
 within ____ [number] days after service is completed.
 Dated:--------
Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 3 of 23 PageID: 84



 ----------[signature]
Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 4 of 23 PageID: 85




                   Classified to U.S. Supreme Court Digest, Lawyers' Edition


 Pleading 130 - pro se complaint

     1. The United States Supreme Court holds allegations of a pro se complaint to less stringent
 standards thartformal·pleadingsdrafted by lawyersr:

 Pleading 130 - failure to state a claim

      2. Acomplaintshouldnot be dismissed for failure to state a claim unless it appears beygnd
 doubt that the plaintiff call prove no set of facts ill support of his claintwhich would entitle him
 t0 relief."'

 Civil Rights 10; Pleading 179 - solitary confinement

      3. In a suit under 42 USC 1983, which gives a right of action for the deprivation of civil
 rights under color of state law, a state penitentiary inmate is entitled to an opportunity to offer
 proof under his pro se allegations that he was denied due process in the steps leading to his
 solitary confinement and that in solitary confinement he was forced to sleep on the floor of a cell
 with only blankets, which aggravated a pre-existing foot injury and a circulatory ailment.

                       APPEARANCES OF COUNSEL ARGUING CASE


 Stanley A. Bass argued the cause for petitioner.

 Warren K Smoot argued· the cause for respondents, pro hac vice, by special leave of court.

     Briefs of Counsel, p.926, infra.

                                              OPINION


                                             Per Curiam


      Petitioner, an inmate at the Illinois State Penitentiary, Menard, Illinois, commenced this
 action against the Governor of Illinois and other state officers and prison officials under the Civil
 Rights Act of 1871, 17 Stat 13, 42 USC 1983, and 28 USC 1343(3), seeking to recover damages
 for claimed injuries and deprivation of rights while incarcerated under a judgment not challenged
 here.

                                            [404    us 520]
       Petitioner's pro se complaint was premised on alleged action of prison officials placing him
 in solitary confinement as a disciplinary measure after he had struck another inmate on the head
 with a shovel following a verbal altercation. The assault by petitioner on another inmate is not
Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 5 of 23 PageID: 86



denied. Petitioner's pro se complaint included general allegations of physical injuries suffered
while in disciplinary confinement and denial of due process in the steps leading to that
confinement. The claimed physical suffering was aggravation of a pre- existing foot injury and a
circulatory ailment caused by forcing him to sleep on the floor of his cell with only blankets.

      The District Court granted respondents' motion under Rule l2(b) (6) of the Federal Rules of
 Civil Procedure to dismiss the complaint for failure to state a claim upon which relief could be
 granted, suggesting that only under exceptional circumstances should courts inquire into the
 internal operations of state penitentiaries and concluding that petitioner had failed to show a
 deprivation of federally protected rights. The Court of Appeals affirmed, emphasizing that
 prison officials are vested with "wide discretion" in disciplinary matters. We granted certiorari
 and appointed <*pg. 654> counsel to represent petitioner. The only issue now before us is
 petitioner's contention that the District Court erred in dismissing his pro se complaint without
 allowing him to present evidence on his claims.

     [1][2] Whatever may be the limits on the scope of inquiry of courts into ·the intemaJ
 administration of prisons, allegations such as those asserted by petitioner,·. however inartfuUy
 pleaded~ are·sufficient to··.call·for the opportunity to offer supporting evidence. We cannot.say
 with assurance that under the allegations of the·pro se complaint, whichwe·hold to less stringent
 standards than formal pleadings 'drafted by lawyers, it appears

                                           [404   us 521]
     "beyond doubt that the plaintiffcan prove no set of facts..in support of his claim which
 would entitle him to relie:K" Conley v Gibson, 355 US 41, 45-46{1957),z2 L Ed 2d 80, 84, 78 S
 Ct 99. See Dioguardi v Durning, 139 F.2d 774 (CA2 1944).

     [3] Accordingly, although we intimate no view whatever on the merits of petitioner's
 allegations, we conclude that he is entitled to an opportunity to offer proof. The judgment is
 reversed and the case is remanded for further proceedings consistent herewith.

     Reversed and remanded.

      Mr. Justice Powell and Mr. Justice Rehnquist took no part in the consideration or decision of
 this case.
Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 6 of 23 PageID: 87




                      30 LED2D 652, 404 US 519 HAINES v KERNER

                                 FRANCIS HAINES, Petitioner,
                                                  vs.
                 OTTO J. KERNER, Former Governor, State of Illinois, et al.

 404 US 519, 30 L Ed 2d 652, 92 S Ct 594, reh den 405 US 948, 30 L Ed 2d 819,
                                 92 S Ct 963
                                            [No. 70-5025]

                                    Argued December 6, 1971.

                                     Decided January 13, 1972


                                            SUMMARY


     An Illinois State Penitentiary inmate sued state officials prose in the United States District
 Court for the Eastern District of Illinois, seeking damages for a deprivation of his civil rights and
 alleging ( 1) a denial of due process in the steps leading to his solitary confinement and (2)
 physical injuries suffered while in solitary confinement. The District Court dismissed the
 complaint for failure to state a claim upon which relief could be granted, and the United States
 Court of Appeals for the Seventh Circuit affirmed (427 F .2d 71 ).

      On certiorari, the United States Supreme Court reversed. In a per curiam opinion,
 expressing the unanimous views of the court, it.was held that since it did not appear beyond
 doubt that the inmate could prove no set of facts in support of his claim which would entitle him
 to relief, he was entitled to an opportunity to offer proof.

     Powell and Rehnquist, JJ., did not participate.

                                   RESEARCH REFERENCES


     21AmJur2d, Criminal Law 615

     US L Ed Digest, Civil Rights 1O; Pleading 179

     ALR Digests, Criminal Law 180

     L Ed Index to Anno, Civil Rights; Pleading

     ALR Quick Index, Complaint, Petition, or Declaration; Sentence and Punishment

     Federal Quick Index, Civil Rights; Federal Rules of Civil Procedure<*pg. 653>

                                           HEAD NOTES
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                                         ST. FRANCIS MEDICAL CENTER
                                             601 HAMILTON AVENUE
                                                                                             FVr..
                                                                                                    ~
                                              TRENTON, NJ 08629



 NAME: DONELL FREEMAN       t\             n
                                              OPERATIVE REPORT

                                                           MR#: 440362
                                                                         \\D?:f07JS                      -------
 DATE OF BIRTH: 12/25/1975  '1            lv               ACCOUN'l' #: 401700782420
 DATE OF SURGERY: 12/12/2017                               ROOM #: A54001
 SURGEON: Scott Miller, MD



 PREOPERATIVE DIAGNOSES:
 Severe osteoarthritis, left hip, status post single screw fixation bf hip,                          ~ost
 °likely for slipped capital femoral physis:---------------------

 POSTOPERATIVE DIAGNOSES:
 Severe osteoarthritis·,. left hip, status post single screw fixation of hip, most
 likely for slipped capital femoral physisa

 OPERATIONS PERFORMED:

      !.Removal of deep hardware, left hip.
      2. Left total hip arthroplasty:-

 SURGEON: ..
 Scott Miller,· MD

 ASSIS'.:. A~:·r ~
           1



 Carol Landau, RNFA

 AN'ESTHESIOLOGIST:
·or. .Loesberg .
. ANESTHESIA:
  Spinal wi tl:i     Du~ramorph.


 INDICATION FOR SURGERY:·
 Severe a.rthri tis of the hip and difficulty wa~king,                  The patient ha.s maximized
 conservative care.

 FINDINGS ON SURGERY:
 The hip was very stiff,·t e    ite              Femoral head was in a
 posterior pl~compared to the shaft consistent with a slipped capital
 femoral physis.          ~one     ciu:ality was acceptable.

 SPECIMEN TO THE LABORATORY:
 Resected femoral head, scr~w, and associated soft tissue.
~
·1IMPLANTS USED FOR THE CASE:                                               .-
. Zimme~..Biomet TaRerlqghip stem °12 mm nominal si2e with 36 mm Biolox ceramic,>('
 ~al he~d ~6 mm' neck length head adapter, a 58 mm .acetabular component with 3
 bone screws 25, 25, and 20 mm, and apical bone plug and size-G 36 mm inner
                                               OPERATivg REPORT
                                                Paga 1 of 4
Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 8 of 23 PageID: 89
South Woods State Prison-Facility Three                      February 19, 2018
 Bridgeton, NJ                                                                     Page 1
 Fax:                                                              Diagnostic Report Other

DONNELL FREEMAN
Male 008:12/25/1975 Booking #:1103525 SBl:000932683B
Ins: NJDOCIC (NJDOCIP)


09/15/2011 - Diagnostic Report Other: XRAY/left hip
Provider: Francis Meo, MD
Location of Care: NJ Department of Corrections

XRAY

ORDERING PROVIDER: FRANCIS MEO

Exam: HIP LEFT-2V, LEFT
Results: There is a surgical fixation of a left femoral neck fracture that is
totally
healed with. resultant deformity. Femoral head is in alignment wi.thin the
acetabular
fossa. The pubic rami are unremarkable.
Conclusion: Old healed femoral neck fracture.
Electronically signed by REONO BERTAGNOLLI, M.D. 9/15/2011 4:46:55 PM EDT.



(SIGNED BY RADIOLOGIST): REONO BERTAGNOLLI
DATE OF SERVICE: 09/15/2011
NAME: DONELL FREEMAN
DOB: 12/25/1975
SBI#: 000932~
Provider:~
Code: 73510

Electronically Signed by Francis Meo, MD on 09/16/2011at12:53 PM
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                   Monmouth County Correctional Institution
                     .·.:,. vRa.d.
                    .........
                    ...•...
                    ·=~~::·:
                   Final Radiology Report                                                                                24nt36S                 Cal\: 866.941.5695
                                                                                                                         assistance              Online chat: httpa:l/acceas.vrad.com
                   Patient Name:                                 FREEMAN. DONELL                                              MRN:                                26184
                   DOB (Aga):                                    12/25/1975 39                                                    Gender:                         M-
                   Date of E)t&m:                               '12/0212015                                                       Accession;
                   Referring Physician:                          Hashmi, Kabeeruddin _,./                                         # or Images:                    2
                   Ordered As:                                   XR HlP 1 VIEW UNILAT

                   EXAM:
                    XR Left Hip, 1 View.

                   CLINlCAL HISTORY:
                   39 years old, male; Signs and symptoms: Other: L~mping gait: Additional info;

                  TECHNIQUE:
                   Frontal view of the left hip.

                   EXAM DATElflME:
                     Exam ordered 12/2/2015 10:21 AM

                   ~OMPP..h.:;,, Jt~;
                    No relevant prior studies available ..

                   FINDINGS:
                    Bo.nes: Single ~ancellus scre.w within the proximal left t:mur. N~ a~t~--~~-,
                    Jomts: Deformrty of the left hip and acetabulum. Chrome. Severa degenerative changes.
                    Soft tissues: non contributory.

                   IMPRESSION:
                    Defonnity of the left hip and acetabulum. Chronic. Severe degenerative changes.

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                   Thank you for allowing us to participate in the care of your patient.
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                    Dictated and Authenticated by: McDonnell, Kevin, MD
                    12103/2015 1:05 PM Eastern Time (US & Canada)




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                  South Woods State Prison-Fac.ility Three                     February 19, 2018
                    Bridgeton, NJ                                                                                           Page 1
                    Fax:                                                                                    Diagnostic Report Other

                  DONNELL FREEMAN                                                 .
                  Male 008:12/25/1975 Booking #:1103525 881:0009326838
                  Ins: NJDOCIC (NJDOCIP)


                  09/06/2017 - Diagnostic Report Other: XRAV L hip
                  Provider: Lisa Renee Mills, RN, NP
                  Location of Care: NJ Department of Corrections

                  XRAY

                  ORDERING PROVIDER: LISA MILLS

                  HIP UNI W OR W/0 PELVIS 2-3 V, LEFT
                  Results: No comparison studies available.
                  There is a solitary threaded screws stabilizing a fracture deformity involving
                  the
                  proximal left femur which is most likely chronic. Correlate clinically. There
                  is
                  joint space narrowing and degenerative changes. No displaced pubic rami
                  fractures.
                  There is nonspecific adjacent soft tissue swelling.
                  Conclusion: Postoperative changes stabilizing a fracture deformity involving
                  the
                  proximal left femur which is most likely chronic. Correlate clinically.
                  Degenerative
                  changes of the left hip noted. Recommend comparison to prior studies to assess
                  stability.
                  Electroni~~lly signed by JEFFREY B BERNFIELD, M.D. 9/6/2017 3:07:49 PM EDT .
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                            • ..    ..
                                          •
                                                    .

                   {SIGNED.BY RADIOLOGIST): JEFFREY BERNFIELD
                  DATE OF• SERVICE: 09/06/2017
                  NAME: DONELL V FREEMAN
                  DOB: 12/25/1975
. ..   ,,'        SBI#: ODQ932683B
.. ·~;·           Provider': MOB:.tT!iEX
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       ~.
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    L'~t<.ecr~Q_.v+S_tbott ,.~e\4.~te& pC!\'A ao1.cLs_uf-~esJ"'~~~----t~l-RA~.·--·______

    ~~11~1·') . d) L J\\!'2.N~\ '1· ~, 1..~ 2                                             f; .SOfP ·.2J         ~Al 1 ~Gil·~·                 CL-:...J-H-__,:---


     z_~ (.'~!b~ JL~\.$±-etl(Q                             or        C:"rn.dYC. aNd            5ubStf\'\\ ~Lp~u...!..:...::;~'---~_.1_~.'-""""e-Ll---+-.f---"---
      ~~5~~ a '~~D~~~d;~~~·~-~~~-'B~o~~~~~~~-­
      pf\~ p)Jo't ii'°eO\t a "'d-0.bS~'\'1li'\ d~fS=-''1._....b)~'l_~~<l----------t-t--~--
                                                                                                                                             'II             G

                     Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 12 of 23 PageID: 93
                                                                                                                                              ,i


                                                                                                                                             J
&·• frlSD .see ml!. litt°t--t-V~~._i82 E3J l~JJth e.;r_ _,_,.~__,
G ho\di~Ts_ ga_:L.5-e.~-f'-'i_d_CQ.L.!/d C::ONS.Litvt"e de;,ob._ -f.
e~~c~                     1~e .Se~~~~c,,;rl~-~seriM~~~iG_~~~~~­
CorJdi~ op <~9-i-_o-V_e;~~~wtb_~ -9,Je _ · _O ~-
pq i ol '.Ji ei 'i'h&i ~-Co •'-rf' /, ·,.,1 3J_G 3d__b]:,__;-J,_b___c,;;._d__c;,'rJJ._!/-f0--L/____B_m.....,..,._
                                                                1                                                                    -t-i--'----




        ,1fow e \leJ: 1 the____C:OVlif .EApli_c._;1L;---1"fJec..t~_AJbfaJid_J}zgj_ ·lmk'1
_ _ _j£ff_~"1_____0Lt;t__dT-e,rtlf11fe 0;~7li.:r_10N____tMJvt.d__s_~                                                      . __       e_e--tf,_:--.,....-

-~r£ 5~jp_~':__Si_&UP~h4-6_r__Amedc)m&WI'~                                                                                           --f I tbg
 d'e,ptiV,·f,m'av.s: of _mexf/e.a.k3 ca~_gLf2~-/21'-~-ie                                                                                 ~Tfd~--
~eD-'"f J,Atb~_fl(j.S_J)__Le.s,s ~'f.e£if1_tl.S_de/V1Cils CA1h1~-~                                                                       pd.e._z_.._
___Qg_'ltL.pa~a2ck._3_l5-_F._3-J r.ff' lb('_. - - - - - - - - - - - - + + - - - - -
             LL,.'\ \j
-----CO-~-e;r-')-      .L,. c___ _'Y"'L.... - - '\. __ n v:
                                   u~-J~.em~-~Co¥S_VY..ri;_(             . L-..1    Q· h       t-
                                                                                             . ~~
                                                            .... IL ah_f_L7J6_JJ~...i~v~---L~'    ~.';es /ut-
                                                                                                         _
                                                                                                                                         a1. .



                                                                                                                     7b
~-~~~ti~~~;~~~~~
                                               ~          ,,                                  u

 f?~f "f lh-e F'qJJJ.L11Lt:S serr00 ~~Q ~hlth ~-task
  -to Th~/l/f"_a ·t _the -r,· me _~_Ue,S-rzecz__fvl..!J-M-~ot-"""-d_,f_:_~·~-lf-+J-~.,-==.!'!!!2-1---
  m ~"*"-°' roedic~---ex:pel± W'it~cfor f?i2Je 7ob) fed.f?,6Ji
 'flR. T-E'Si'~M0"1 W_b£__Q_Al~~~ bfodJ do ;~ ('~f\rQs
  YhB.d1~~ {i-tJ~.
_ _ _ _ ___,_A~&~i0_,_q1·'/fl.., ~_t)_ih e                            b&c.K--9~rnt.Jl)d_id__c_aro~7-J1-~~~--L-~~L-!!

   -to         ._f:!:i-r.et'   'Lh.e-   .a c.,~_-tt<,N         fl..   "f orbu {o-1:/J!:) q2       €.uidedf12.. t'rJ e.S'f"Gl         ·     •1--.- - ·

_£C2fr>_e_c_e.--q,-vi ~Bu£.-~---. QTbe~__('e,£~_;u.~h.edi___dro~                                                                         -~
  Qt      <>"r12£ci:___1:d)u€ll"----f~ •                  :::r.. --try   -r'°    ~--rh:e /'ss           u.£.,4 "sw              -                  "    1


   by      br:,~~-rr---srec._Fc-iibo.£ :tb_~_e_tfe.e:r.s----'-o~-d~~,~
  C:~·r'"°  1
             ~ • -'
                 '
~"---Q__-t)IhLVfJ!\.l~-F-·                              ·""l'\s·a '
                      '- 1 ~ 'l---\t- ____·\A.l_V-!- ~,--~-----
                                                        '~.e. ~:t·t.> c       ~o/m.S-Cill~l'J-LW~---.-·
                                                                 ..,J_..1)1-~p-Lfb-er   ..,.n "1: ~ · ·"'-->
                                                                                                   -      -- • --t-H"__.

~-~-:e~V-'--'-        't . .
                     -P:  ~
  €"Jff. ·u..h. -U~-"~_t_c_e_~vv
                               r ______    ~ 101u_t!)_~
                                          "°
                                   WitLrr-~~     .ia    ]
                                                        ___      ~O 'j'-'~-J-
                                                            Q\_C:._iJ=._\J_L .                    b__QW_lrJL\l~_OljC}'_]_:_~·t++.
                                                                                                           d     j 1 ,.._I 01-;· ~'-=i,_--i

_W_.b.£r- l_b_-e;-r_Lt ?.S rett/N_fl:---~-e.,_e..fc,_
                                                    ___Do,Lv:q_S_o_wJ~U h~(f_r:n_ap. '                                                c;JA/!L_---1
                                                   ,J                                     I                                                        ·
                                                                                                                                                   1




~-e                      ~fLlf {1£,_fher ~ Su~-vS~_e.S.S_of_1!'f'/_eoMi±i'...o~-.£J                                            - J.~1"--=-'CN.='-·s.__.
                                                                                                                                                   11




                                                                                                                                                            --1




  to     CL&a_'(-P-~r:sorl_..~-----                                                                            -
____£~j_(,rsr,___f _.w~~te.~~Q_sm__t~                                                   Croes_w_b~cb~-_.~.e.__--=+-l---!'----1
  s;   t!_);    l.,rtr11~ e.s~[!)~--Pel(~J~-~ltf~-,~~S~MS_i_~ wh\c:J-i                                                               ~::---1
-~ ·> !ip-l_:e_L_1.£1A.)~t _ C,O_v ~-tS_hca:\!-!l.__f.e.__c.o-9.N; -z.e.d :lh~-~-tP.NOO rQ w..•                                  1




-'4~0 GoiJ8;T;rvt\ orJcil __~_Y±L--°¥. rn. ~toica.Q._(Me~d1L-p~ offic.~i~---1
-~.St_J1r>.~&_~~v/\-f~ s1s:t:£:.~JW'tfil't~ pr>.soN
  rn~icdJ~~s ~~~~L~~~~~~~~~
    ·~~d.                        s~~m-~i~~~~~~~~~~~i~~~~~~~~
     _Wbi~ M0~e 0~~~e~4 i~~~~~~~~A~~~~~~~~~~~-~
        ; r\)        0 \\ \ ~t' ~~---------------------1-1---"----I
            Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 13 of 23 PageID: 94
                           f.   /




                       -~
--~--0--ANd .l f's1°~_Q1c._~be \f,             frj_5D_6\   Hooltb_s_~dic.eS1 I J?T E sSc1f!p
~~--L~_c:i1_)_C expert--71z..s·bMt>Mj ?~· so·meft·~                d.e..ecA
__,s ~w Sui ov&Jass_rf;,~'Jb bp=rt deeds 1il 1:fJf_ q /ql pe1<5'f)_,J Ih at
    f-eArS    !£
            Sv~llf__fuM ~ic._r:vvd s_e.~ · ai'd ,'                   .      'ts -S~
----=J,,J_=-LJJi~-f-1!i.1-iJ_[i[fic~_e_lt C1}as ~ '-fCS,                              rA   (e.c.£LV_          6d~d
                                                                                                                 ____ _
  Ci [(_u; r d-e~o_L.S_uMs ..,tf C111 rbese fJ1-c;fQcS+-S-/?t1Yti17 ~hat 11-;:G Si~(.=_!vtY-~\~""'----
---21'. ~ 01echc.o£ ded_&_de_~{'!:).,'Al.M_b~S-JJ.Lc.Jvd,16_1.t_t_M,. /~ ·zeJ
___1o J) b/)1e1he1 C2l r.e.$0.-JAbJe. Jor;,;&r oc_f2111•'&id:. jc/ovl pe,..rx.~.· ·~~·_
  th ed i c. rJ. fl. d e.e__d___id 9Vf. s Ti' oLJs_':_i.1'!1.porta,.,£.__aad ~ Co,..,,
__ .Ice.o.fu~-1------·--·--------------------1-1---;---­
       =0 V'6 l[fiile.L~bf'.=t\..e.r :rh.e._rn_~;Cc&l C:~.LOll .SJ"! /if',·c.~y--=a_.----\A-l'o~----­
-----~,~
        J<A '1 V Cf (J_ft_\li. ii ~S A ,J d ~
                                      ---~~,-------~--~---.---t-t-~---



        3) The f x,s i'e,J ce, oUh roNic et n d_S_u.h st qrvt,'ufd.. pt4----.r..,_ _ __

_ _ _ _F_-1_r       siA~      furi: rM:D.5.t_1_uJAv-__s;rM~~ ~~a:rtlec-1-11--------
   ~ Dr-lYf c.J \C\83 L!i!b\\,11 c_\~~M \1'•\.~ {i:.                                         AbKSh hl:lW
· J~ ~~DI~ r 5 ~c_..:::\l_o\_.__..\l~et\__,,""------'C=-=9-1--v=-=-5'---'-~---"-'-iN_,.____'"~,.___._~~~..___-++--.,.:----­
                \k \D;rrl C"c.,>ft c.c.krJ~wlsz.dqt?.~ . :t ot
~.vy.~~lllier 5-ttdd_Ard,. fur· ..S\}-pe-N\.S~~b.1--------];_t'f_.~------
       ~c.~17\\         I     -~p                                      Ll_.I_~,                   L
_g;J ~ 11 !i(i € ~Now te."T ~ \"e R" ,r€:M em-. Lt.C.L.~ ~,..__tl.-""o<---13.__,_11.:..__:i.e..___,,,..L.=-..:::=--¥JIW~----'
                                                 .




~C:i_Lc_~, t:     \ \,'l_ \~" bJ_U)'_Q_La S0r.e.r~i.Sur u~i \C\<83 e "1 be
_irJ OA/rz. czr 11->e tclkwir-J, Wo.15 .                   .9 a~diH..U                ~("4-iC.lp!ir+i~Q-1=-1--'-'
~~' ~iul~~aA~ ~ ~\~~~-c~~~                                                   ,
-~1\1~ . N GJr ~e.Lt:h(\)\)~h Ci\ f:e.~ Oi" 'l~f'r-e.~_(~ :!hiL f'\q;':'lrT;fF_
      113~                  1·            '                               1 s
_(.~~ \Pil!t_k-r~t ihe. ~5~C\~__i\~5\:l~, \<f\ be.e.r vdd.i"1 Ce.\1\~1- --a f10XELV_
-~ £1.'h Q~ Q.~~L~.J5'_3-)_6:_e_~ ~-~\~C.1 OL L~-5~"'1                      :f ';:
 Soi~c.._~-U:>-~\Jct a~o0~t\~~ ....v a_Cotls:tii:J±•o-~Qil \J·r·oLA'hnA Dr _llo~\
                                                                                                                    i

_s~c_\] 0 fO\-LC.1 o-r c Y5t~~ ·-- -                                 m c. fl' 11,~                                             .


~ C{tfU$~;q e.N'\- _<;vfu'll iSi1:>,j\ Df &.26 ordl"1MI2S WM Co-rv..-t~1. 1 ~--,
_ca  ~\~t~r\~ b\ s)_fu_~~ 1 ±q__acr:_o~1'"t'.:l.Q.t:1'&..I ll'ldic..,tr~                                            11
                                                                                                                        ,, _- - - - ;




   uiJ G;.~bJs.:> t rsi ,..:i o..12_CA c.r ~ a:.c. v lf"'B t ff\ St)-"-" ·

                       _            +Porj\i          G\N~w....k£d                 .
______\\-\St                        J@ s. c. ire. ~f'+ as       ~ L      s" p ~ d ., s'i)"'1     Ii £11.~·~-1~'1_·'t.______---l
 <Ai't~c..be.1 ~ Wh~            -the Y'\o.l~ \'~ff c.oi~ ~'2Jl.e.-±he.. (o\\ owjt:J_~_L..!....·..~........,-....::__ _
  e \e,tvi ~N±S;. •:;)_1~ :t\1~ Svr-er-\hS:©c b0t~ (,jc.-N~\ <>-r CoJstro.-=~'--L.!v~--'--~
 KrJ ow li',CcjSl t\~ hP~ .),;.bo~d~ ~         ePl~ ~ ~ rJ - n J~t
      .,. v-as, ~1~0\~d vN Ce0so~~le c\s]<" o~-~_.ct~\t_V'lS~·~o~,_'J,_-+-+---~-----<
 et ' ~{                                      CJ r . . . . . . . :\. Al\
                 Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 14 of 23 PageID: 95


--------------------------------i-i-----------
            ~                                       ,,,,,,.-~
  ,.. •     '1J~ury---1o         Citei:.ed.5.cud                c.Jb;_s:J,     Tbe
  _,                    '   ('=',,.       ,,
   f n-f?       C~\.tl.L-e:~u.!!1-J·-l-'f/t~c..t~.---------------,--------H--;i'---

_ __.,_,~-T,bE1-Ibe S~ nl ,~soRs Ce.S-f2-~-=--~~o:::..._·___:._;_::..=..___!.__1.~~_._..,...~'---=-l"'F-'
 irl ade-q,ua~ ril5 -fo L'ih~_~_eJ/be.rrJt~__J..'Nc/;17c.re/tJCe ~'2 or
£Lrdh~~fl_-r_1w_ op fl>e a/j_~ of('eASV~ 1Pf1Jc~'ces_~._ _ _ _ _                                                - - - 1 4 - _ _ __




--~-=1:.J.__!hcrf_r/zetlb ~ t:/!A/ q ,-r,·r!J.7ClifVt!. G"Qv_~.__)_,_}_:....!..._/A}.~'15-L--t~.,__,.__~. . """-~
 Supe.c:-J'SYrS /_,.; actLod ettld thte. f?Plti'c,J/af' Co.Jsr/>/ll_f/oNaR 1~~
-1Ly_f/J£_~~'~N~r:t1~~-~~~~~~~~~~~~~~-~~~·-~-
     v
    7~            ~     ,,,
--.,._dbait!lJU,__JJ,;_~,ltJAJPt v..s~d a ~~-1-1<'1-.,.                                                             _ _,_.




 Of' ei~:tuca,L~O~evfe- t:t->d qciu~eNLW, to~ /i'r:dl.a____;vc & · -~~J,--_~
~JJ:._Jj.j_J_jff~tf21ioh of ,S.iJttJ!jf)/'/ rJvues_____wkch f:u:ac.q_ T ~=----­
~"1 s n r~ oAl ~1 deprP \/c;-r,·ods So ~de21rler ~r (f)odeJLV~~.-'--'--'~---'--
_s__~Se.£-v:ces                       <'.lf    1
                                               C~   i',.i   (M:t'' ftaf-        l'JJ.J~LfuLpce._s__   . /,,,;
_b14c.~q:ti).u:i0-5.upf1£...M °'"rt~'f-St                medi c&>J£ pype!LUL-=++-'-"-1----1
                                                                             ci \SQ

  Off wh~ fu r.e.,iv1rfJiJ °f. tttfr.3 ,·/f[_f:>__n;fug m Qhvw a-J ~'-!SU
 o,J t be-r weeN' d-e (WdaNt71.s Cc:Jddvc t aoJ P\e,,ti\\ :t 1rt:S' . ~ t'1'1\rtro
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                                                                 /
                                                            _/



... ,_~ ) ci d; f:}ue,rJce..       i?V CL:__pjjs.S-vt<l~~_med                 ;·cal   "1e..eds hOJJ
 twb •~fOdetins ~ }2 c,Jru -rhe~- Ser\~s lflf:._0Jt!3Ld~~_;_;_d;:..:..,.1,,___,                       1-1---'-----




-ddd       ;;i.)LJid_defe.dda&ts resf!M159 cc:>,.JS-/i.lv te. debube.fl!J ttr /'Nci · c...~_
-1.o Jt...       -Th.eA Wb'21\Jf QN _:to e.barn ~-te.r,·"?.R; di1?>/ll,~m-re. /;Jd,· · ·e1~ce._·            If




,·d 5-eJ~ ~-+-"1S._,___... .__,, __~ - - - - - - ' - - - - - - - - - - - - - - 1 - - 1 - - - , . ' - - .
    d) '\<."1 owl e.d be, C2L__d_ed_ _&s___m_~:_co.l Ct::t ~ CDvf2/e_cl.._--'-CV__,_.--'-',·l~h.-1-1--'---
M. i N j:e.ti.rl'i\l NldQ refv.Set12. £rove. Ft.SJJ..d:J-J-10.SS~_:id_ 0cdr;,q_c1 A re_--1-1-_,.__ _
 or      1°rJade-~Atf2 ('<)ed.~\ Cllre t1J.c:,t" it 5Ao_e._)1,S_t/ie CDdSc1'ed£,e_Q                    -][:---
- ® /i -med1'Go£     d~cis~°.<td__:to_-mk/a_~-~l-~and_l...-e
                                                                                                           11




 efr1·c~c~-~S Covt0e o,r -rf_etl--t~-~~-t;_L_wh;cJ-, 1'rJ 7b_e ·plf4J.d_1?fl G~~
~ ont'/- ~~eO_.S. AtVd Wh~id-'-ht"L Co,..,_f2_l-qt'd_+-l----
Ct'fit'r---&o -rNJ.. J~Mt, ffe_r&_CIS V.te,,J ~ b.·91>-e-r /?'J~_c.lfdHJ~---1-4----­
f!or b0--f2c.iN.f4£ ..Le'1, ()1.b_er -re.sf, ~-t.o_Spec.£1L'f.S1.,__,__~--'--/\)-"--'d-----1-1_.;c___ _
--=l:reat.~c.b____:tl.'2.                plci.lJ T.EF___B.S kes:}_£o~       ~,eJ .)----t-+---'~-­
_@ Tb.£._ pro0 i 5io~~Ll.LR,__~ mtd,.ca.e CC{r-8 W__A ~~-++----,,---
4/eecl fbr ±refit mBN-t 1°~06.~~~-~"-------------1+----I
   r8J Md, J e. \o.y · Pd a~ tnediJ;afl. C'AW tizaf E.s__,,_-h_e_-+-+------'----l
 e.i;v;uAI~ oF uNAleceSS°"')", a/\Jd r,JevV-tt>ol ldf/ic.n·o,J o~ f~·-++----",....---1
                   ....._

------=-\h~ Se'll~~tb                         (.;n:.\);>t    ~;N~ofu        '(:DIA)5.   :   ~   fod
~d ,~frSJ~,_n~ cP+v~':,                  ; ~ (QtJ~es· ~_k~~hofd.~-, P. 2.~_.3_8lf_--=~-'f_b_--a-+=-7_ _ _          -I




Q1\i     c>r bG~t_.5-=ta_t~_J_ftLL_J_~_rJid itY                       ChJ~tSe-_c_tt<JJ__L9_~-*--1-1-----1
~~fur~c'p~~ b~~~~-'-d~~-~~.~~--·
w_ho         ·ceivse..s'' ca   c i-te   4.eLi!>__b_e_d_£ff' veri_o_f_hat_/~0_.Go~lsr,~_'t.t             CJ.J.,_··_ _,


J'iqhts C.171~1,_e.         bciJ !~L~_..__J],e. ~_;tt>               cP_v._.:lvc& ~N~._G_,__f~~-~---l-1"--=--.;_____,
 51.__tis f·· e.d4 ihit de £wJ~_5& ~~ c;i 5-ell"es-cf-w_ce~_ts--+-+-----·
--1&r_ 16-e de.f.'._e.JdatJt- Ktie.&>4l OL.5_b(),)\d ~ ~l~_ha._ltL_\SrJ owd__w12
~avs~ o-tl?t~S to d_e{:)rr\J'f.;
                     r           the
                                  -~
                                     n10t;~:(,Tf o_(_j:h_~L~S_tttvtva&.~~-'-----1
Ri9bf5, C..--ced~.:t&l=t de.,J;a.Q o~~ Ir~:.ti.J~-e&t--to C..h~-\c.~·---1-f--"-----·
           lhe. Oe. re tk\m..rt LtCA!>J~snll.&.b_eervJchi'_a-fb_'1-1°-j t!tl e M F'!)~-t--t-t-'_,:-- --·
                                          I



~,~~~~If oF~e ~- p~~ ~~~~-~
   ere        bro                 __fi::f!.~ 1' i ru-~~,.,)$~rvt1o~~~_dt1~,--Hf--------ll
      !he defeAJd~Nfa C&Afduct ·cAJas ~ C0u~f> ?ri fAcLaE_1!/_Q1d1--i-+-----·
;m    OwrJ . St.1!1[fQ
         I                          1
                                 de-p-PwafiO~.. '\kr_<i-.s Jo rn1~e,J M----++--"-----11
 fA~            .,~ ~~ ~s~~2~rL~~~~---­
                Re £v.S ca.Q To 6e f eR TQ a S ~ c i 12\ltst ~er£ ~~r----=-d'~'                   --+--1-----,-----11




d-o-'t   Kd<:i\A C.!71~ ~ S""'\!,f.?ttetl: .R.21~~]'1\~- B;31N I.Jo Serl$e o.~~----++-----­
                Sv {'f>ort€d <l~\\be\Frf~ '~c,~ferBr-~~
                Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 16 of 23 PageID: 97




_ _.&b_tk.r_ c:: a~_ib_ Prove Tb__ttt "[ha ~~d--=~"--""=--'-'--~--"--'-'-'~-=--t--4='
  t q<?3 Psi lf,"JdebrttAJdt v. I~kldo-;s tJ~e ol &Aron:;,/ Re o
37'1 F.~d lsJJ:i_J__rui_ c lth cJ_~J ·c aN ()Ftrc..:ciL .Jqt/o_f''e.
-{?-flr&JrJ.fl f"e~_dS;'/,i'//ty 63ftv~ E>/7 S_q;.f/rW el8-3 -· - IJE---t-t-----
   7/,e COnLdvct Cwws_,1_& CorJSti1vt:v~a£ clepr/t/tJ-t:-w o£_6-f2~-+-f=>O,_,__ _ __
 J,,,,g direcr1'Drl                       Dr    lr..lifl">    hs~elj__eL_g_,,d'_ eo;Js&f/f, llin_ / 0__,~.,.__ _ __
_ l!:!_USf ~ q6~ ihe.                                        Cod__dOcf a,,,;i_{tLGt~__l__-m~.e / 0tJ c:ifi>'?rl>J/ e          ¥
1~d~~P~r~W~.~I~~~~~~----
--~~c:t!illd_nL-.JafF-ir~v_;_fl._L1._"dk_k:t~tie__a_c1_,:_ud C_o~-~/~!::..14--_,,_ __
J2:.b.cA> · c:u:Jd The e(ff'ciol sveJ~~ dec~~&)r-f-f-01"~L9- B~--------H--'----
 _   _    _/ l . .    •   s__QA}od d&JLo LliYb.ML_ra ~ u Ire. m ed. /'N 16 e Co.,Y__L___ek±____Q_f"PL''-'-1                         ·-Ff-'·----;---




_7!f;_fo_y_r Tee.J ib_Lfr.f!2e_~dfnMt.___\{_ ,io oJQ-r, od_m e a,,JS a/{ Co.,Js 1/'fJL~'~~o~~'--~--=---t-t--,,----
_ce,'t    0   i te, m_~_Tf.,-e                        7ht1e0hr2Ld 1°s_~er The                    de../iAJ!CJ.1-P    o~--t-t----::·--­
-~;~1i[f_JLj_=f;17~_1Jb_~vtf: A~                                                                     ·,t ~---o~"'!'-t-----::----
_:1/i.e       a_fF-1_!._~c Dl.6Le              C~.S1Ltuh~.N~-f2-rv ~Lf241_,._ _ _ _ _ _ _ _                                         -t-t----::----




    l\\~o;iee.                     1"bf4+ mf})oNt't o~._f~s"------=-"tJ'-=-~~)_,...S'--frl!M'. -"'-'.._~~~------"--=-~..___,,,.,~-H--;,..---­
                                                                                                    -'


_·\-'-'--_h~~ta.£..~                            of     Cf!ll£_tned,~ccdl provisLefds._,_.~~~---1-1-----::-----1
                  •       -    4   dtrh    ~. CorJs_nn~·~~_._--=C=C~~~~-#--~-'--"--------+-1-----'----l
   \, f !( qAt\s:>cl,              b~ :t't2L&G~~_LQ£££~_\S01-s_\J~~.-L--=·e~C.~o~vA~f~h-a1--.__-l-l--_:.-----l
 11\\So    s-tr(t~~11y -rb;at 511llB------pr1sIZ~s__'_'._C:>JJof c.                                   rstt "f            .'JQ..·~~l-i---"----1
~fil~SLf2r; ~~~ r ±\o ,\)~~\l Pde,P?S                                                vdkc_!t~us. c..,_J!i.E__s,,__1i--t-t---~---1
    .. ·-· :LJ U:>.6Jhte~e.lbJ , 't2. LlJ_220J--z.Ls_&t6 c; r f'j,_'1_'f-________
  ___
  -~
__1_~Go~-~&_t£.S                                    '' n_
                                                       ~Q_~J~s              C'
                                                                           uf    tk f2~/S_;~MS__~~e11.l:f:_r_e.~---+-+------1
                              __
j (\t {~"'1 s ~ ~r- Wi_t\1_'the_5tat-~-.-~~T-f'~.s ~ c..' g ~A~or~ z .e~ tho- s rA1_12_tJ--+-t----:.---I
-F-\h~~ MQ_O~C.~t C-O\t-~-f-20'~~~~r~ .AX ~R C.-~s_e..~~bQt 1°s                                                    Tft\_J_:__it~i0---4-1-_   _._ _ _   1




rJ °'\\ ~ th~ ~8cL\lS_\_y_~---P-u_\9-'f-~il-~ ~ ~_j_b:L_S_;-1\ t.Q                          , ~-f -rh~     fh y_s_;_cs~--t-t------·
 ~~~Tu~~:~~ui~;f~~--~--­
-~~-~s ~~~~_rn_-1(..~eszns, Th.Q ff'~"'eA · s~rf .er-.s ~ de r·'-
-~-~atl \)Nb~~~~r ~~ ~l--frv'1z cl~-~-~ rhll._s-=±~ h~s+-t--.,.---·
~clE~r~~~~~-m~-~i~~ ~~~f~~~~-­
-~()hf_o.ut-1~ MQPLccA c~-ft~-~~.s ~ vvrJ ~------------+-!--,..-------.
----'-----'A-~J21ffi1_~~~~__:to._W~±_\U_&I_~~J5J87 ()~ I oB &?c.~_....,.,,_,,= - - - 1 - + - - - - " - - - - 1

  \'{)' t... ~cLzd_f/o-~a8) \be SJfreJ'J€.~elLtb.MLJ:a pbrs:c;21_ _~w~"IW'<--------
 i°s C!d/JeA" C.ONrtt.d W'Th The 5-tat-e to P-ffi'Ed~ tr->edi~ Set-vi'ce£_ir>~·- 1 - 1 - - - - ·
 f~MQ~~~~~~~~rho~~ ~~~~p~~&~·T~;0~)f_b~q~S~~5~~-~~--~
 ., Udr/a ko/oi                             or SVJ~~~.                     Wf.@111   he.. -treats aiJ iA~-----t-t------.
       Add 11                         rzf"_c___tM   c.is      hltDn~     'Tbt    f1i~ ~1h.vljS fQ.adi(5 ~.
              Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 17 of 23 PageID: 98




_____..._. _. _ oP for K__C&_1!n1_t         ctJ;S   -5-t'"A/\fcl~_qI For 1hi> Ior012os/t,---l!!:·o4-..,____,_~---l--l--'-----"·1
                                                                                   ,


--t2-l:Q-P-e_&Si~~db_t c:tcr       .wdm- L.-fJtp_r_4---"""-"-"-"--=-~'-=-L---!:-w-=--h.:...=-IZrl~~_--::.J;._--fl,Jl-f--~,[:"'----
_l_d_"[Af2., f7r'D r~·~ Criffl1Ci11YL.S, l?iJ1f.!JB, the ULJii:ted St11_te.___                           s_14_ __;.___
_J:,,_~-~--rJ'l/;jLth.e ~ f c;~Nt' rdflS cJo rh:rf. With rb~ a
__Qf--.51111-P bA-J&__tAfha,J bl(, 1'rB-fJM JfJ0_(21111N 7i 'f4 1/iRt 1lvb S
  Wtrs __ VNrie13          lit                  Mvl/c~~·----"---
                                 CAJJlS-tt'ffJttotJcJf.          cilt.17-to pilJLJ~
_1!;__16o~i1JLJ_f_S__~· ON.>, aNri Thr;;t___f~-t, l>i . Co~ tt;
 ~f\Jt$_        of   fhe Cfft'ANf t;IVlUN/> beiJ:v:.-e~Sff:J/tl.                                  f4/)cJ       16£                  R,,,}

_df_d_dfJr                   Gotot of ~w CodGW/od_/16&J,/J Se~""---+-1---­
                   f!lt'fe,_8-ti,/s
-~AJ.llf'e,,r .v. b~deJly_!ti_ F 3d 2zo1_.iz1 {c.;. rh c.,·r J'f'IY.)At 2:zs /l>v. _
__T~ __ _:_pn~ v~1lf_ p_b-y£; c...: a,.J            to     w/.vM _g-f'-r, ·so/lJet          l.s__c_e. £i.1retl I"
_tk_£fe1_te_1-0Af_d___w.lo_~ /C:-/llow.s-                  Of T/~ri~orlel:L.51A_'tYS=-----'C1S::;.__.::J1o.__.;:v---=ch~·                   -Y-1--'---

       ,..
_ _lll_o/;JJ_rJ ·t:o,rity_a.s_~vMeS.. 7h~S.r11t"es__cd;ft:_f-A1r or/                       lo     p           v/d_~ /?:u1,d/
                              z2/;_;__ _ _ _ _ _ _ _ _ _ _ _
_G_rJM_ilJ. lrJt!JareS:. ___tLr.3-d n;                                                                                                  ---1-t----




-·-· . ~ f'_r/(Jf_V:.,~ SttTi'Sfji'/)~ re fl Vi 'red/Y>&vtS DE
     Hrz -e ®· Jfte. !%1/NTifEs x-&1            · .·c.   0r.1 i ,

___s_b~d___M-QrQ__~~J~-~~-;-~_i_~'-<t----------1-1--'---

             -~~~~~·~~~~~~~~~~~~~~~~~~~--
                     ,.                                                                                                   .

    \; 1\-b_ljr~i ~'~-- C\~.C\~ ~ t (l)oAMi)~b_(._o_rte,ti ~,J f!)ed)e-A\ ::tNc.'' p
                                        .
                                        ..                     ,.
---=tbfZ\t ,. The d~te_'\J_cl~l'ft,' l-\-1\S[')/_JCq~u-dcl~ ~ . tbe Ph 'fSl-S-~1·ct'-'--'rJ~,--=W~...,,--1-t------
__.Jl....Q ~- CCl\" se..Lr.~LJ?°~-~t-1_t_Q, tAt,lo ~ ro r fr)_~A-~a~tt 1\0~.--=-·s__:__~~.e~ol"-,_~-l-l---'---
-42 ti)3J.i.cl oc ~j-s121t~_n~~1ia\ ~liCJ-'--\----~
_;ilij!L;:_b,tk § 11 Lb.e.._j_..J Pre.I".] Q ( 0 !..!rl-_eMphra5.is 0 ,J c Ci v.l)QLµ_o~_, · t - - - - -
_____:___C]_cckJJ_\l_~o.or+{Y)erJt- ~f-~_c._t~t-~ icQ.<;.                                         [!)s}~ '<...\ \ i NO)CA.~1--__;;__ _
                                    r                                ,.
~tb°'~~CCA\ g~'JI(,\ ~e-"*                          body    PS 0\     CCA~l?. IN      f't\ '.         0        t\         l ~N T .
_[oAlStl;T;oNc.I def2H\ll\t~,0cld._~ tber~b,: M~                                                              be.id           l,'Al:JE.
-~A-~N\'1 vJbQ,~ 6-_e.t..vt~                                                                 ~r...,,.eN!-                 1·
_G~~, l/'1~~!_b__~J~-~d2.     hf r't-S LJ..,~M~t<ers ~"'o_'' l · . t.-
   ihQCO
       \     (Jo -c ~\5 'ar Ac-1s:· ~Ji M~ ~         _1~ '·~           ~        .      _                  M                     '   \
--~---·~-c:._CLh:_\- __ __  ~      _c_._ ~ , "~ u_JJJJl~/-L'--'.~C\-Y~1n~A~"~r~,,_           •.
                                                                                  . . ._ - " - - -
                                 7
j3 (S _5-(U_D_\J)_8IIBJi 5-fn LQtf;ILlAL20UCYi ,Tf\JH.!Q
____Tui_lciJUR'f. ~'U\\ o.\s~~d ~                                                          (oc:n.l        ~.~·er___1 _ , _ _ . . _ - 1 - 1 - - - -
_eiN_tl_S:>F~ ~~--~-~-p-1! ('IOI' I :rAf:,~11"·-----------1-1--..!:--­
_ _ _ _ ____,__\~ is !h~NOs i r-\ ~-~\A\ill'3.~~---H----"---
  s+-ATn.i - \ {~a '2 a.o~~~·"QdQ-At 5
~t'~~--~lG..?-·---r·A~ ---
                                            D l'
                                     -- V~\)~    ,...}._ · t~lL.11-J---=.!~~~~~---+-l-----"---
                                              \' ~J

__Qlc~ rn wtb Ca.r.te-ct ~t ~ tll.Q.D \c..~-=-:::...-=---.._;:__·~~·~~~..::.&-L-l-~~--l-~---
  CorJ S T,T vT~ O-~CJJ_Torts ,@• Dererr~"' ·                                                                       ...   t
                     Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 18 of 23 PageID: 99
                                            f~~     . ···-




~         5'     L,· ab~litY afktr                           ~h~~k1J15 .C/er/Lj._,,_&Y--2 Zy                                  a_o}-°)_____.___;
 C.fo~Tu~~Am~d.~~~ ~e                                                                ~~~~~l~~~~~-~---­
____Sc,.v_e_rci a c,·rc-vtts U$ed_id o rr:/~Al Tiff Spe.c1'(;~9'---~--t-1---"----
   .                                                                ~,,,,
  SoL>_e,,_t
---,--
                v 1Sort   I
                           {_qPJ .zo ab~fi.·rd G»rc u/r u_se.s__Tfre   . . -
 Ow Je...c;e Md a~~vce.~~tflhur_ C'ovt:t;:._dec.if-L._..·'-',__.._..... - - - -
 u.s ~_1be '-:rrt11er&ed,~au. Sb_Afde1rd;_·1<.e.~kLes_.s.deu:.r or de l>.6~re ,_,_____
                           1




  f~o!/[[eL~:. {... S~t!&_(.oilf!tS_~g._'(                                   i-'tS   a_Cf...l.!laS::t~ tti' 1he_~J±~~.
j_\:i~• i..r"'¥J.1,~iy fourth .c_;_cc_~~Le. 's-~fh srqt:_e LL!LcLLZ.~'----                                                                      -+-1-----

~_ce._fQr med1<:.c1i/                           eon            -th1!s_w~N1J.e.                            fot o.1:>sive:; .Dt!.hhar-
~-r.f           Ldfli[fererJ.r..e ml:lf- be. ~sAs~rn±e~ b1 e,',qr~r acNQill-1.f..N:._-~-­
_c_'f---1:.e_~t<v le. ss             di>re_cp.td. AdeFeAc:kNt atts_c_e.c.k\~ssl~                                                 bi    d~r-
~..a:rd; Nrt-°' s, >bs:ta--6\·t"i~l-~                                      ot   ~~s tbi~-1s_iiiJJ{h::tel krJ 0'4~---1-1----­
   to       T6rz_ defetJdq&t_o_t:_~'L_~\~ b2. °'~P\?t~~ ~                                                                0   reAs'\)J ohJ
-P~~s_QJ_~_s_~~~re~o~s-~s/tm.-=--·- - .- - - - - - - - - - 1 - 1 - - - - -
           To d\Jt_£_7 i b~_Ib_,._Ld_c\_tu.J_j_t_rlo_e.s c..c.kAfo_c,& 1~;.a
  0 tber             c,·r-c,)l' ts Je v e..tQo
                                             r                 0N                            r n,.__r~s .c>=--.w:::.f1t"'---"-""-..~'--L.L..!-Ll!oL-=--H-----,,-----
                                                                     b r ocu:ler StA"1dc. rd~·1               f,-¥-1-"



__lli:ty-~0f                   rejec-red                 atJ ·ac:tvt>1I     ~~e                    '1.~~u::;;,._;,__...,
                                                                                                                      .. ~~-;-'- - H - - - - -

__r_:e_iv~t~JY1~'*' ANd .Se~d                                       C\rc    v.or.~tci.rels   /1'A6ihtP St11Li
  of            1he_m ONe be.;&~ca;__:ru_ru_o_it_ecf.                                    1o\AJfAl·er1      cllLJ:o. . .u""'-'-r-""'ts=---0"'"-'9"0#-r__,,,_e_,,_P_H-_
                                                                                                                       .                                              _ __
         'i-1                               i

   70 J__o,~t Ca us                  +c         :
                                 -                                          u
_____                            i() "1o""t£_How~~-er, 195'3 ,5("'ovtd_&z~q,·-Jst---t-1--·---
_ffi-L---6fis:.k-F-o_f_±SJtt_L:okl~ fo~~-pft~e....___c.-a-ta__.>e-)-t_.._.b'-"-"a~·. .                                                       -1--1----




 M ""J04s____:_cx ""0 tJ re&p.\9~~s_~_bl e ~L-~~~-Col'lS.-e.~ll.w ces EJf-__-1-1-----
 h~ s a~~~- A~d ~6J{~~Cl~c~o~-~~-\q~B--~-~----
______A·___\-\-=.S~o=-t-j-Ca~.e. i Al £ec..~~f.5 ct c N~_at\ e.\~lY\eNt_ see fDocl~lL_.._-i-1---,.-----
   D~_M:eN± "~~~efi\llta..S .. Becr:avse-                                                    The.     G.,~_L0N (:id:._6.-ve.s-t-+----'-----1
_r: ,<Js_f!..        -to Tb e. dePe Nd/;y\-fiS hutG· ·5-ee ca kSo                                 LQc:oJ_Jj_o_v_e.fl!J_e. . . . ..______,,_1A-=--"b~·-t-t----~
-~~~m~~~~;J~d'A~~·~~----~~---

                         !'"1    Co~1~tLi--'s~J<.~ ~~a ~o' Th2._~·                                                 .l:l\:m      01"1   fm---+-+-----1
 5f LLt~;&N+, qnd                          Cccl\JrJOf           b~~~b..f...\rl_to~a.~h~·L~-1--'-h..._..·~--r-t-------•
_s.+1'i~~~~)£~;,,11f> drAf'_fi.d.~1-"M'-"-'.~·ltvOAS~.1--"-·/--1--""-So-=--i-_ _ _                                                                                     -l




   th&lJ , K£spec t &vU¥ r+sls' tlL~ t& <4~-o-~t.0~A TSI Wt1h~.~---t
                                                                                             1~
                     ~~e
                                                                    ' 6
                                                                          .. ru_~       -~- ;_h)s~-t~ st~_ cl~'·
                                                                                                                                                )\



                 ~    A c. 0 M            f>-1r&_L&\1~_\Q_c~J?£_<lt&O+LCS5£d g~Q~f_____._.__
  to S-t81~               0t    C.\fltNJ uJJJfSS it                       A-ppeor..S be Yo
                Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 19 of 23 PageID: 100




 • ~- ~ __ Mb\cb w_o~~-~&_T1-11~-b~_OZk\.;~.----~----1..-1---­
______:ld___f\_e°'ci~f\lq.5 130 ~- fro Se C.am-p-/_fil_IV_t_;_J1t.tt:fl~S._·""---~- - - - 1 - - 1 - - - - -
   · - - -..---=-_.._·...:.-Jl)   -:I1e   (),,J.1Ied-5t~ 5\Jf2-fe.l>:le_LJJ_t£f_fu:iLrLruo......:::.Ie..=-"99'--'e,L-:....!·-t,'--'~
                                                                                                                                   -H-------'----




_LQ&S)          of_o_pm___sg__compl~itJf to                             /_e,S_S_Sj:_r_z'N~eNf , \tci&Jl~Ld.---1-1-------

   ~64 furo~~ ~~~~ d~~-~~s~·-----~~---
----------------------------1-1-----




--~E~~-~IM~t~,Lf Th.ef-~~-·~~_cls-aor;~-~f-m_e.d;_caE_cep;AtS__:_~~~---1
  er 1   -12rooe            C?f SeN<iJ..S m_<P1s:.c.R.. rl.ee.cf.                         --------~·-!
   _ _ _-. _. .~~e_X-:-tr:-.¥°
               _\              t"N f!ladfY)rJV"fh Co.uN1LfMLJ}Le_de eAld _
-~Ct_C/(/v'Ot.JIBd~S c>iC~~ '"to 6:.s_{;_Nr}/~J5-•__Adf3 X~r~y.S 0-f2- -.·---•
~~~~-8eo&~1(~J~6~~~~~·~e~~~~~--·
_ _- ~12M!f_j1rs-f2tffef!_ o~                         wbgf-_)JeM mc.~as--per.s-c.c_;_i:&.=-----++------1
 --~~,__,,_dLf_r__We (o~_s:r~r0t\SJJ_~t';~~                                    o C{\·c;calS__ci_~~-\J;-"'--dg~c~-~            --+-f-----1




            orJiv
               . t
                   £0-r ,.:serrc~ Medic:.c£ d.ueUL~                                                                  Jt-d
             th~ t        Ct ..Ser!rv   v5-_m-e.d {'t.c{) ~ P5 o~~- j\)~                                    -~--=J=--'-1~·.._._,_N~OS-=..;·~1---------1
----=-61+--~bp~c;/\-J                        cA-5    r>itW~L~N'i~'*                           <:><-   ~Nil. th"      -      80
            e\111~ 0\ 11.>.T ~~ !clQuJrl R.CllSi'1 <'.Q,~osN'·~~-1-4----·
-------'=-ob_\l.tiWs -rhvit
---.~-.~~~of q~~~~~~-~_a4~·----~---~~---
- - - - - - - - - - - - - - - - - - · - - - - - - - - - - - - - H - _ _ , _ __ _ _•

           _ _ _H_·          ~_w_ll.'i/J-L-tke 6ttb t'1 BMerld~&,.,.+ ~h ibi t5 th2.'-----++----'----
- - - - .-"-CA___,.hl;V_e_c_fil,54               0\-"'J    VJ &i~~
                                    Nfl-i vfod_~t-PC\~--' ------1-~----­   ;

____A_,~_J_e, filf_e__c_t_fJli~Lih-1L_(.ouBt__'fu_J1tp-pal-NLIW-----. . .-----'-----·
    tn~eoi_c..a&_~-r JNM'N~ vrJder _Bvt-Q._Io_b_,_[ed. R. [v;d,_-H-_ __
_____
------..,...~·/~'°_r:_~~.ix_t6' ~h ~£_Q:>_t_0Lc0J2._ft>tf20f!S_itLoci~~-.-;_,.o...:-d_l6__1 - - - - - -
    .~-~ V~t$f-,~-9 f'0QJLcflfl_'f<llJ1itLL£·_- f!_,v_1he.i r_f2t0fls.S /"iJN olJ.
 .___A~,0~19 6~.s,Os to Jr;_f?l&~ t~-6lc.43-~_tc1_01h~t Tlo.,_~'4-L!,'-"-".._._""-H-----------
____; (£,_(ld                        f,CJtyjJ._o,_s_ui w_m_~d ,·c~                  d-eedj_al)d___Jtj_ b.JLf-~~--l-+----·
  _____.._T_,\J2..-=---'d~Jl
              _f             c.~_L\)k-ts_f)_fi_c:l___ca_c.o~_s__r\"f''3 b'-~Al.LM_10-=-·-"--"r~l--1-1--------'------
                         l't-
~~~~--~~~~~JU~~'~~~~~-'-1-~~-­
------~------~~~~>---------++--"------
~~~~~~~~~~---~~~~~~~~--II
             Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 20 of 23 PageID: 101


 "H?sro ·                                                     0        ()~    \



   ©             0d J~_;_[f ?cla~ed....f_a_f!b.~~--~---
-Cat.iA> tL.Lo-r CCL iidof---£1~C:o..//o-kJ1._~__n;:.k.a,s_.,...._·~_._.,._,~~~~,.LLL-1~~­
_fisls--F-*1'1 a f:tB:c a car uasQ. If£. sm,'lhLm.aci..LG..o..~e.LJ)_____,___.
-pcQ__\f-1 d:e_rs._a_7_11l_e_.)MJ~rd.id--y-Le--Ct-f'J;j1Ll..t ~o ~G.h____h·'+"F--'~'
-1!.J/W-         rnei:J_Lc11t.-0J_,,_4/ft.f_cud~t1J-~4/-M-wt_~.l-f--t--&--~
_b-f'1/-med..J:CA~~i\"~.X-&c;1 l> (Af.t:Q-t~"1                                                                     <f-C-t.1__.,._·
                                                                                                                                 -f-'-'-"-




_c1, :11__,·c.     Sup_eLV_1_:So_c_._$Px_02.aL_.,ltb-ea/-&£                             1Q   ~ Liz-~               dc,_,4            L   "'w~--
~74£~-~T                      q-    let:~~~-----~~-----
         ~       LJ-_Eew_m-0cJ1lls._fd£.td.. bf>_Sa_b_~~s/~ -~ di_~e_
_ r-:e_s_\.tI-1~-5>.N.c.e_tJ e_CtY PIS..brt e. ~c._______c c;lfe.ti......fi2-r ~ lb/Io iv v. h 'e
---f2lq,·A11i1E WAS c~ j==D[ /!?e,d/c_a/ cp_s--f: Jiawe//efj - -_                             Ot;~
-be wovtd l2e ccr-He.cl clowJ JO ;?7ed1C.t>i/d' //e, ll)e.Lt&/_ft/i__tie Sd/l2e_ _
_ ph~LM~.,-.'r/Je._d~fkld1a_tJrt1Ji.ashmL~ucld,.~1fo                                                             01     ~            d        /he
  x- ra\17 '       I he de.be.AldA&X [,Ad tbe pl0,·u1 -
                         ~
                                                                                                .                                        j_

    LJet'.iS wh,·c...h        tAia.s

                          I                                             I
-~...n:lere d. hoc.toR iN(Orf?.R() lhe 6£                                    s_eu d-1116_,J i& Jr-ml                                 _
  i1'5--Jv.5f c. be.Af~,.,., 4              Xrew f~ 1-v', +_ a$ke.cl1
  1-0 he_r.e.-r-ar:ed for or6er 1£St,e>r or76o.A-r this Jik~- ~~--1
~~~id<> cN"'f s h/flJ2ml P s_:-/tJJ:UI__ or__w_al)s.. · .;:r c:o d~.N~.o~:.~                                                                    - - t




__blcUJ( tr>O ~ ibA,J Lo ft l6l ith out bo. ~-Sil:Jp_be.ctJ_LlS-£.____D ~. . . .                                                                - - !




~, ~ Govtd cM.lLp\ f 0"1 ~Y-~~.                          _ ·       ·'         . ------"
_Wra._s_~o-cb_le                uNLBSS g Sl.Ep~lluk~°& &lie-5                                                                        dLie.µ---t
-kJ-~ovtcLCl!t i~_s_/_1-00_! -eb rw~ef-f" ~ /r./                                                            S_C_-a;__cLW/J?.         ~'-----•
     @         [bEs_cav.$e.d____Q r          c; >0t5         -tkl.. f2t3)~~o-f_D_. £J_'fo. Ji---·
_(2/NQl      c.~o:ftQrl e121~Af ~-~· A                                             eV-eN-tvrui-p<e.J.-'!:_e                              f-SU:d--1
  ~1a_\_D1__<2.~c\_e__)C_.S-r_J_Q..i~.J.-t1a.f     Jhe       p~sc)ALS1: UAlb~eM ra.&k                                       e rres}
-~-fo_/:i.,/1>      .,501J,e-t-h,/11()   e°.s_&ta_/f..7       hftOnr;;           .:r   a5l'"le.d /'C    h!L    WOiJLd
                                   T                     I              I                      .    l
_6~16-er 11).t.?·.I or Ree.eta.I me                               to         5feeie<lt5         be:.c.al/Se.. 1°            6e
      ~~ Y~ ~-~~tsM~~~,~---~----·
_e             Ho~                  . .. ;                                   h                          w
_ __._h~'hcat h-L             Co-1Jtd     qJ\C'£    N         d'~~..-=----:.2I~0~~,.J-J)J::....?...-<-11~-~·_!_'1--=-1~--i:i:-w~~----1
           _79     ac~_n:..__odtlte p.-.'1 dc~50\J:Y.\(~ 1 b-£. 5-tMeLh.L..$~¥-''-""'-~----~~--1
            fc"'    r°t~ So t' co&1'iol w 'to -tl\'1<€ ik Jbed'> a.$ ~~~~V--F=,'-----1
                 1i\2St jk :Dsiv-to"&s ~ed;c,cll, \7f'Ot f1.s~aNa-Cl. Of i'o
             Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 21 of 23 PageID: 102




· 1L 60tc ls 6.rtJ_un~.      ----------------1-+------....-1

_ _ __...,.:r=l-'o1.._.m~l9r 2    0I1--L90 W~-7£d_LJ.;,_c;t_0 d e lL~ 2 1u0;/J~
-5£.,,Jd :m .Ss;.vthwood_s_. Tk orrlu ef- ~-011,VN foYiJ ·
    :r asked Th~ .Ne) A'f' th£, J,./)J<-> rn_s, i-t~ tnJLs_----=-a"--"""---~--~~~
 ,~~ ~~ -~ a~ ~$~~-~~~~~~-~
 Ci:!_l<:ed me 7"o ~._SA~ve:;/_tlz~ WPiJ.kf ::r btd--'l-1--'~__,-"--=-il'-
  --1-    f,.tU) -tci.fqrl ~a7-1.tv               tb.e   CJ:l.u.rJt~ae            orda.eci zk___
                                                                                             & ___

_ r.£s.a:.-.ts-iLlL1iiiz.._fr>-Llnlf~ Q,.det' CJ,,./ 5_,_(N.. s. f>. ~,-t-t------1
 .·         l~'tr!l-~€>-.--Q 'J_j_0'6..). 2D./7,__{b_s_"9$_o,__f_:D,...,'t#t:='-.,.._,.
    111-e.. directly bAc.k+of' f'"ollo_wr-Un_d_C.e.f-ece.__d_fb_~f-a~ '1d_       .~

  :l:-~e.d-·SD-~-~f_c_~r- JM ~--·
_..I . sf° J<e"1_l6.)_,~ tb_5coJ:LmJle1i-frU1 ~ ~ JLfb -e.)s_..s--plt;,/d_e.cl_. _-~-~~t·----·
 MJ 6 :p CAJi;,.s__J__ts1~rrne.d 1 Cind t/J§f_J}~c.~ hlluLD rD o.-
    ,::-rom 1°ts 0:ft.dch~1-b~taad_t~t                               ?r- !'Qt     wa-"""u.~io/..,...__-1-...Jt"~-.,~'-"4#~'-----1
--=~L~~~I.~~ to /12IJ~LE-t-----;--t-t----,.---I
                                                   h                                                            ~
                                                                                                              0 },SQ    ,0
 hru~ m~iw~ ~ptl~ ~~~~~~~~~~~
  Of' de.er berrd.J Narf?.~,_.Pf,__._,_b-=-1--f'--=-·--I~o"'~S.1--..L-k-~~~~~-=---=~~~~~
~:d '1 ~eed ei rof e>L.b.;_.p-~ rffrn pl.BBtr'', Cov                            hew£
         be.eN Les..5-eA~_t!:£5Vte.5              or- °fffods. ha~.0:J.-~DS                                  -before
___6~ANci p&pe.cl~c:h           B~~f3-i4_iN&U~ ~-""-"--:·"'--"--'~....._·-
                                          l)l.


_w_dr l=f--e.te~_o_r:__C:ec Isl~ clfs_~~   A t11 e !?.s_ _
~cJ1·Tf 5e.-o'WS f"'Led1'Co-.)                           KJ.£ed.s      0
                                                                    I , ,.   Oi         -fi'O/'J
   tl..s,__ ew,diei:£ ~ v'J\irJ~S                          [-ed. B. fob~l.L _____
                                                                               .. - - - - t - t - - - -
                            Ce..·.r       .5o0~-'--------'----------++------·
                fle&:~-r.H ~kS               (;;;,""f.,,~'1 dnM~od                            fl_l.rli11'~
          ~e ~~~~~a~~~;
         op lfi.e ~TiTV~t«onlal d'o/2rr\IA-1!Tul ~S~ 8nd.--+-1--------·
           f; <o1'=1   /\fr> ecl~ti't ~-~A-~~'I- - - - - - - - - - - - - - f . - 1 - - - - - - - •
              Se e.    CJArJ deL V   ~~-8-~_G2cL7fil_;_7_a7__DJ.~th~c~~•~19~®~·.---1-t--~--·
                Of< .    Ha th~ !NC-1.y   y. c~oh I;,.\ I "67 ,:- 3d. b3 ':Z.d               c .
                og       CoJso-10 \J,            G eµrqe. SB <7.3<l 1q1 195 C
                   Case 3:18-cv-07802-BRM-ZNQ Document 10 Filed 02/05/19 Page 22 of 23 PageID: 103
                                                                                                .,.
                                                                                                                  1
                                                                                                                      l   I
                                                                                                                               4&4j>
                                                                                                                 rs c
    11.:L. •.            w          .,,i   2ibe-r ~-ff~h :to tcit3, co.tl:eD_j'____                        --+-+---'---
                                                                                                                               '
    (3~         ~ 1i ~1.srxt:t'O A o ~ ~, MVSt- ~1'$:l_M_c1E\d_\Jlo!!!·~+-----
    r.JdJer-_ :::tbl.$ IN'IE<--f2ci.i'i0~ olf t(1~3 ~iI;O'f" duJ litt-_~v~-~U-----
~i O~~~~~~qh~~~~~~~~~~~~~~~~~
-~but              Wb_e_c.LC2t    $0\:x:>rd.'~~~s.-~~)_ft_F.s Jv£f-_ic~~---Ft------
1~~.-"tsotj (icabl;~-~~~i\S<'>.r ae-rul~.Ae.f~""·--f-..:-~-­
,_~~ fu~F1~&~~~~·~r~~--­
_ _fu_plP>illlJ'ift:'S___LorJSLit'ut e~'>6-                            L'M_S__1.2pM1.J--'~~-~-
__bcCA~-~~\JJrkL:t-h-~-\ A t~r ~8__f_LO_N-·i~l!3_\f_5-~l.µf'") _                                                              ll

_Jvt_y_o_M_iba_s~-~J~r~-~~ bovrt!:l_1_j~ asfl£-~··e\1e,__!Q ~
_ __,,S::tia-«? ~ M!Ncf i:~-~'ftdt'O~ ~~-­
----~-.\h,_·· e._1bi_r_cLC\ r~v__l.t_Qerc. l"re6 ihcrt t t WgS Co~G1d~~',J?....--_:_____
-fu\1'-\> of             C1tY ()~ c~~t~~bo,.t rrthe st11Ncbro                of   r'llldi__\/_;d,,--1:!<.L~'
          ~_.Svpe-n/lsog fVbl1~clP1\.2 CAh\1 b.e. fuvad                           ·rfrL.be do /g££
_         ___.:t._.._b~_.$trv.Ji0tnt op        \fili1L:rf-fo-r 1l.!Lpubt,·c ...e..<\ltt'f,·e          :1
      SerVQ.1          5eo O\\SQj .,)o,Jt,.,g      v. cny Df       Ch lc.o.qv .    <:.      •   2     .

  Q-t\i Gr.lt\'BS')· ''The S~2tsors rrwst t<NnvJ ~T.L.f--"/&=--=::..>.Ll.-V'-\o. . .~-H-'-~--
    ~°'c:.; H~~i2 Ptt fll~.l-JLW-~~~~~~.¥-l£--~~V-!--~~~..:._                                                                      __



_ ··_lA.J1gt 't~1 ~Ms~ 1kOtf mvs± LJ o11'RA CA)Qrds 0t.ct e..'
--11<-.N~~~ \f\\ rth ~ ;~eJ;\!9.SS__UiLdL~c_i\.l-=CL~-----4-+----­
_ _ _ _,dru:L.d_<?sp;:lE !brat ID'j X-fQ,yS · s/..Qw_e..c1_____&1?,_IJEJE_~-~~t....L.ll~--
        ~1.C. c.~.
          aNd     . cig rNe.Ll Lr--.p•'j a~·ud. cut___,5_ 1s.s
-~~l'"'j fu_ _d_~rk,,,:t____r:_epJse. 76 c~ CQe 7tJ Otfho      ll""B'V"J":.~,.""""
  tb e. re~vMco, Of the, CcNJptro,,J ,'N on:kr~l~__l-r~-#-t-=J--'--..
                       Ll~_&f2-££SS -tQ Me. Pt Wiis ~s___:rle._5_
I     •            o~-t~o S-t£lt!l_"x::r·s_~~\R ; t::idd &'V__e,. Sieoa .
~__p had                     Ci   J~iacA~n_~pi-taj fe<l!lQ_LJaR,~~1-!-J--­
                                   1
_a,~_u_\_objjbsL_Sue,w ~ro k~ ~s Pt w~ i~-----~
                                              . . i-..._._.__fn-=e. .                                          -1-1-Y'------




·.   fueND}e.&_1 ~-~Haj ~,~~me_~~~'----                       .......~a~·                                       P-V-----'--



~hl&t ~ defi,Q_~,.,fs pr1s~ doc::rot for. Je.l-be<wt-0 1 Ai chl e ~ .,
   Tt. b_.0 s $e.ti.QVS mgci1co.I ~ mA~ had °' ~~1~4-=-::Ve.=-1-i--:-~~_;;__--
             1

r



     CoAfcht>A "fucxt- C~u;i'ed S'°Qe...t"YJ before. 6;3 Ul~re~et:.!.-L·~'.A~d=w~~~-­
      ~d be ·c.vq.S f,J G,N8_~-f-Yt~\NfAD <:>\!\~Q.\1 Oi~~~to~~~~!l­
 b~ Iii foc-t ~ d~ e.\»$~~-~·. _ ._,~-=...:..1-l~.-'-'-P~~~-
     b"'I
~®d iN :tl'u2. c~~ ~t- ~h&\-t \tivthu· th~ __ _
     ~\i~·t~~~£~L~ '~®$~~~~~~~~~~~~~~~~~~A~~~~~~~~~~~~-
          J \,
            -i "  c__:: (-' t '
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